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   November 24, 2023


   VIA E-MAIL

   Mary Elizabeth Smith                                             Markenzy Lapointe
   Stephanie A. Sasarak                                             United States Attorney’s Office
   Tom Vanaskie                                                     Southern District of Florida
   United States Department of Justice                              99 N.E. 4th Street
   P.O. Box 14198                                                   Miami, FL 33132
   Washington, DC 20044

   Re:     Kenneth C. Griffin v. Internal Revenue Service et al.
           No. 1:22-cv-24023 (S.D. Fla.)

   Dear Counsel:

          We write in response to Defendants’ November 21, 2023 letter, which purports to be a
   response to Plaintiff’s letter dated October 25, 2023. While we appreciate the information
   contained within Defendants’ letter and remain ready and willing to continue to confer about these
   matters, it’s clear that the parties fundamentally disagree about Defendants’ discovery obligations
   and that guidance from the Court is necessary as the parties continue to litigate this case.

            As an initial matter, the information sought in Plaintiff’s first set of discovery requests
   exists independently of any investigative file, and Plaintiff’s pending requests do not seek any
   investigative materials at this time—e.g., interview memoranda, law enforcement documents,
   etc. Defendants’ assertion that they do not have access to investigative files is thus immaterial;
   Defendants have an obligation to search for responsive information outside of the investigative file
   even if a copy of the same is also within any such investigative file. The cases cited in Defendants’
   letter support Plaintiff’s position, as they involved requests for discovery that was solely part of
   the investigative file. See Southern Poverty Law Center v. Internal Rev. Serv., 589 F. Supp. 3d 79,
   85 (D.D.C. 2002) (plaintiff sought “interview memoranda, law enforcement documents,
   communications between law enforcement agencies, and investigation photographs and videos,”
   and defendants still produced some of those investigative materials); Berkun v. Comm'r of Internal
   Revenue, T.C.M. (RIA) 2023-127 (T.C. 2023) (plaintiff sought “grand jury materials,” and
   defendant produced a privilege log of the documents it was withholding).
                                                                                                                               Exhibit
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                                                                                                                                A


         quinn emanuel urquhart & sullivan, llp
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           Relatedly, Defendants’ argument that “the IRS has virtually no information or documents
   responsive to Mr. Griffin’s discovery requests because TIGTA conducted the inquiry into the Pro
   Publica leaks that resulted in the prosecution of Mr. Littlejohn” is also of no moment. It simply
   does not follow that the IRS would not have information that Plaintiff requests, for example
   information about the IRS’s own data security safeguards. Moreover, even assuming arguendo
   that the information existed solely in investigative files, Defendants would be required to obtain
   access to those files—which they can do under Section 6103(h)—and to the extent they withhold
   information, provide a privilege log.

           Finally, Defendants’ statement that IRS Chief Counsel was “cleared on October 31, 2023
   to inquire further into Mr. Littlejohn’s activities” and thereafter “requested copies of the contracts
   between the IRS and [Booz Allen]” and “is attempting to locate [certain] information responsive
   to Mr. Griffin’s discovery requests,” implicates two separate issues: (i) it demonstrates that the
   information Plaintiff seeks exists outside of the investigative file and (ii) it raises questions about
   what Defendants have done to timely satisfy their discovery obligations, particularly in light of
   Defendants’ concession that TIGTA has not determined that it will assert any investigative
   privilege. We ask that Defendants please promptly let us know: (a) what steps they took prior to
   October 31, 2023 to obtain responsive information, (b) who cleared the IRS Chief Counsel to
   inquire into discoverable information, (c) from whom the IRS Chief Counsel obtained the
   discoverable information listed in Defendants’ letter; and (d) when did the IRS Chief Counsel
   make the request for the information.

          In light of pending discovery disputes that remain and will continue to remain even after
   Mr. Littlejohn is sentenced, we cannot agree to Defendants’ request for a continuance of the
   November 28 discovery hearing.

   All rights are reserved.

   Sincerely,



   Alexander J. Merton




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